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                              IN THE UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF MARYLAND
 Edgar, et al.
                                                        *
      Plaintiff,
                                                        *
                                                                                8:19-cv-00985-GJH
      v.                                                             Case No.
                                                        *
 Maguire, et al.
      Defendant.                                        *

                                 MOTION FOR ADMISSION PRO HAC VICE
                 David Rocah
            I,                                     , am a member in good standing of the bar of this
                                              Meenakshi Krishnan
Court. I am moving the admission of
                                                        Plaintiffs
to appear pro hac vice in this case as counsel for                                                            .


            We certify that:

            1. The proposed admittee is not a member of the Maryland bar and does not maintain
               any law office in Maryland

            2. The proposed admittee is a member in good standing of the bars of the following
               State Courts and/or United States Courts:

                      State Court & Date of Admission            U.S. Court & Date of Admission
                                                              Fourth Cir. Court of Appeals 5/7/2019




            3. During the twelve months immediately preceding this motion, the proposed admittee
               has been admitted pro hac vice in this Court _______
                                                             0      time(s).

            4. The proposed admittee has never been disbarred, suspended, or denied admission to
               practice law in any jurisdiction. (NOTE: If the proposed admittee has been
               disbarred, suspended, or denied admission to practice law in any jurisdiction, then
               he/she must submit a statement fully explaining all relevant facts.)

            5. The proposed admittee is familiar with the Maryland Attorneys’ Rules of Professional
               Conduct, the Federal Rules of Civil Procedure, the Federal Rules of Evidence, the
               Federal Rules of Appellate Procedure, and the Local Rules of this Court, and
               understands he/she shall be subject to the disciplinary jurisdiction of this Court.

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            6. The proposed admittee understands admission pro hac vice is for this case only and
               does not constitute formal admission to the bar of this Court.

            7. Either the undersigned movant or _________________________________________,
               is also a member of the bar of this Court in good standing, and will serve as co-
               counsel in these proceedings.

            8. The $100.00 fee for admission pro hac vice accompanies this motion.

            9. We hereby certify under penalties of perjury that the foregoing statements are true
               and correct.


MOVANT                                                   PROPOSED ADMITTEE

                      /s/ David Rocah                                   /s/ Meenakashi Krishnan
Signature                                                Signature (signed by David Rocah with permission of Meenakshi Krishnan)
David Robert Rocah, #27315                                Meenakshi Krishnan

Printed name and bar number                              Printed name
ACLU of Maryland                                         Knight First Amendment Institute
                                                         at Columbia University
Office name                                              Office name
  3600 Clipper Mill Rd., #350                            475 Riverside Drive, Suite 302
  Baltimore, MD 21217                                    New York, NY 10115
Address                                                  Address
410-889-8555                                             646-745-8500

Telephone number                                         Telephone number
410-366-7838

Fax Number                                               Fax Number
rocah@aclu-md.org                                         meenakshi.krishnan@knightcolumbia.org

Email Address                                            Email Address




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